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10                                 UNITED STATES DISTRICT COURT
11                               NORTHERN DISTRICT OF CALIFORNIA
12                                      SAN FRANCISCO DIVISION
13
14   UNITED STATES OF AMERICA,                      )       No. CR 05-0395 CRB
                                                    )
15            Plaintiff,                            )       STIPULATION AND [PROPOSED]
                                                    )       ORDER EXCLUDING TIME FROM JUNE
16       v.                                         )       7, 2006 TO SEPTEMBER 11, 2006
                                                    )       UNDER THE SPEEDY TRIAL ACT
17   CHANG SOO YOUN,                                )
                                                    )
18            Defendant.                            )
                                                    )
19
         The parties hereby stipulate as follows:
20
         1. On June 7, 2006, the parties appeared before the Court, and the Court set a September 11,
21
     2006 trial date for this matter.
22
         2. The parties agree that the time between June 7, 2006 and September 11, 2006 should be
23
     excluded from the Speedy Trial clock. Previously, the Court declared this case complex. See 18
24
     U.S.C. § 3161(h)(8)(B)(ii). Further, defense counsel is continuing to review the discovery in this
25
     case, which exceeds 50,000 pages, and includes numerous Korean language documents and call
26
     transcripts. Additionally, the government expects to provide numerous additional boxes of
27
     discovery, which defense counsel will need to review to prepare for trial.
28

     ORDER
     CR 05-0395 CRB                                     1
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1    Thus, the parties agree that a continuance is necessary for the effective preparation of defense
2    counsel, taking into account the exercise of due diligence. See 18 U.S.C. § 3161(h)(8)(B)(iv).
3    The parties also agree that the ends of justice served by excluding the period from June 7, 2006
4    to September 11, 2006 outweigh the interest of the public and the defendant in a Speedy Trial.
5    See id. § 3161(h)(8)(A).
6
7    STIPULATED:
8
       June 19, 2006                               /S/ PETER B. AXELROD
9    DATE                                         PETER B. AXELROD
                                                  LAUREL BEELER
10                                                Assistant United States Attorneys
11
       June 19, 2006                              /S/ BRIAN BERSON
12   DATE                                         BRIAN BERSON
                                                  Attorney for Chang Soo Youn
13
14                                               ORDER
15      For good cause shown, with the agreement of the parties, and for the reasons stated above,
16   the Court orders time excluded under the Speedy Trial Act, 18 U.S.C. § 3161, from June 7, 2006,
17   to September 11, 2006. The Court finds that the failure to grant the requested exclusion would
18   deny defense counsel reasonable time necessary for effective preparation taking into account the
19   exercise of due diligence. Further, the Court finds the exclusion warranted on complexity
20   grounds, under 18 U.S.C. § 3161(h)(8)(B)(ii). Thus, the Court finds that the ends of justice
21   served by granting the requested exclusion outweigh the best interest of the public and the
22   defendant in a speedy trial and in the prompt disposition of criminal cases. The Court therefore
23   concludes that this exclusion of time should be made under 18 U.S.C. §§ 3161(h)(8)(A),
                                                                         ISTRIC
24   (h)(8)(B)(ii) and (h)(8)(B)(iv).
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25          IT IS SO ORDERED.                                     TA
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                                                                        ORDER
26
                                                      UNIT




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27   DATED:________________
            June 20, 2006                         ___________________________
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                                                  CHARLES R. BREYER
                                                                                    yer
                                                                           s R. Bre
28                                                United States District Judge
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                                                                    Judge C
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